 

Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 1of 8 Pagesmd:t GoBecr court

 

August 25, 2020

United States District Court
Central District of California

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
CMJ

 

 

 

United States of America BY: _________ DEPUTY
Plaintiff
Case Number
CR-04-1189(A)-CAS
Vv.

Gabriel Gonzalez
Defendant, Pro Se

Objection to Court's Order

Gabriel Gonzalez asks this honorable court to withdraw its order of 8/07/20
so that it can consider Gonzalez' Reply Motion of 8/11/20 before rendering a final

order.
On or about 7/17/20 this court ordered the government to secure a copy of

Gonzalez’ medical records form the prison and to serve Gonzalez and the court with

a copy.

On 8/07/20 Gonzalez was served with a partial copy of his records, via U.S.

mail, through the prison's regular internal mail system and not through the prison's
legal mail process. Gonzalez requested a copy of the complete 80 page version
but has not yet received his copy from the government.

In reviewing the records he received, Gonzalez discovered several significant
inaccuracies which he addressed in his 'Reply to Government's Medical Record Inquiry'
motion of 8/11/20. This reply has relevant information which directly contradicts
the prison'’s assertion that Gonzalez is asymptomatic and otherwise unaffected by

the Coronavirus.

On 8/18/20 Gonzalez was served with this court's denial motion of 8/07/20.
Gonzalez objects that this order was premature in that he had no opportunity to

provide this court with important relevant and contradictory information to the
medical records the court depended upon to derive at its final decision. The

information in Gonzalez' motion bears directly to the heart of this matter in

concluding whether or not Gonzalez suffers not only the Coronavirus illness, but
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 2 of 8 Page ID #:1009

also if he is indeed recieving medical treatment for his illness.

Gonzalez also includes, with today's objection, copies of his multiple requests
for medical care which remain unanswered. These records were previously submitted
but are included now for the court's convenience in deciding whether Gonzalez was
truly asymptomatic or has he been seeking medical care and treatment diligently.

Gonzalez prays thsi court grant him the opportunity to be fully heard and

will assess the merits of his 8/11/20 motion before issuing its final judgment.

Verification

I have read the foregoing Objection to Court's Order and hereby verify that
the matters alleged herein are true, except as to matters alleged on information
and belief, and as to those, I believe them to be true and correct. Executed at
Forrest City, Arkansas on this 19th day of August, 2020. ”

  

Gabriel Gonzalez
Defendant, Pro Se

Certificate of Service

I certify under the penalty of perjury that the foregoing Objection to Court's
Order was placed in the prison's internal mail system, postage pre-paid, for service
upon this court via U.S. mail on this 20th day of August, 2020 to 255 E. Temple
Street room 180 Los Angeles, California 90012. Gonzalez asks this court's clerk
to serve all other interested parties by electronic notification and to provide
him with a stamped and filed copy of this motion.

 

Gabriel Gonzate
Defendant, Pro Se
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 3 of 8 Page ID #:1010

TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 05/27/2020 06:42:23 PM

To: Medical Staff
Inmate Work Assignment: Education

| have tested positive for the Coronavirus and have been moved into an asymptomatic-positive housing unit. For the past two
weeks, | have waited to begin treatment for curtailment of this disease. So far, the only treatment !, or any of us, have received
is to have our temperature(s) checked. This has not been done every day but is done most days. | am concemed about the
‘viral load’ in this commune setting and fear that my condition will become unmanageable as |, and others, are made to absorb
the respirations and accumulations of virus contaminations while being locked inside the housing units. Please advise me as to
what medical treatments | will be receiving and when those treatment will begin.

Respectfully,

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 4of8 Page ID #:1011

TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 06/07/2020 08:37:04 PM

To: Health Services Administrator
Inmate Work Assignment: Education

Sir,

Now that I, and many others, have tested positive for the Coronavirus would you please provide me with documentation as to
what the BOP's (and CDC's) treatment plan will be for testing, treatment, and care of this disease in the infected. Thank you.

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 5of8 Page ID #:1012

TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 06/14/2020 09:30:18 PM

To: Dr. Hari Kapur
Inmate Work Assignment: Education

Doctor,

Please advise me as to when | will receive any examination, tests, or treatments for my coronavirus.
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 6of8 Page ID #:1013

TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 06/15/2020 07:59:40 PM

To: Dr. Hari Kapur
Inmate Work Assignment: Education

Dr. Kapur,

In May | was given a nasopharyngeal swab exam for the Cornavirus. | was told that my test was positive for the infection on
5/20/20 and on that day was transferred to the Wynne-D housing unit for confinement with approximately 160 other prisoners
who had also tested positive for the virus. Prior to being tested, | was receiving temperature checks twice daily but upon
reassignment to Wynne-D | only received a temperature check once per day. This was usually done by a two-person team and
lasted all of 5 seconds. One person (officer or medical staff) would perform an infrared reading of my forehead while the

second officer would check my inmate identification card and record the reading onto a clipboard. | have never received any
sort of examination, testing (as for lung capacity, blood pressure, EKG, or any other test) designed to evaluate the severity of
my Coronavirus infection. Furthermore, | have never been questioned as to how | feel or asked whether | have been
experiencing any pains, dysfunction, or other symptoms related to my having contracted this virus. | would like to know when
medical services at this prison will begin testing and examination of those of us who have become afflicted with this virus. If
there is anything inaccurate in the above statement please respond back to me with the necessary correction, and to advise me
of the prison's future plans to evaluate my condition. !f my statements are accurate and the prison does not plan to perform any
medical evaluation of my condition then it is not necessary to respond and | will accept your nonresponsive answer as a denial
that there will be any action taken. Regardless, thank you for your prompt attention to this important matter. | look forward to
hearing from you soon.

Respectfully,

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 7 of 8 Page ID #:1014

TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 06/24/2020 09:27:47 PM

To: Health Services Administrator
Inmate Work Assignment: Education

Dear Health Services Administrator,

| would like to know if | can expect to receive any testing, examination, or other medical treatment (other than temperature _
checks) for my contraction of the Coronavirus. As you know, on 5/20/20 | was relocated into the Wynne D building for isolation
with approximately 160 other prisoners after having been found to have tested positive for COVID-19. To date, | have only
received sporadic, 3 second temperature checks, and have not been given any lung capacity examinations, EKG/EEG, MRI's,
or any other tests to monitor my condition or treatments tu abate the symptoms related to this disease. The temperatu re
checks have ceased completely approximately 2 weeks ago and | still have not been examined by any of the medical doctors
for any adverse internal conditions related to this medical condition. On 6/23/20 | was given a second nasopharyngeal exam in
anticipation of my medical trip to the Memphis hospital for cancer surgery but | have not been given the results of that second
exam. Please let me know if there are medical plans for a physical examination, tests, or other procedures in response to
treatment for my Coronavirus. Thank you.

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336
Case 2:04-cr-01189-CAS Document 219 Filed 08/25/20 Page 8 of 8 Page ID #:1015

 

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Gabriel! Gonzalez
PO BOX 9000:Low
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Forrest CITY, AR 72336
United States

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United States District Court
Centrai District of California
Office of the Clerk

255 E. Temple Street Room 180
Los Angeles, California 90012

 

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